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           Deposition Designations for:


                RICHARD FINKE
                  May 13, 2009



                Deposition Designation Key



                CI = Certain insurers (green)

                CNA = Continental Cas. Co &
                   Continental Ins. Co. (red)

                PP’s = Plan Proponents (blue)

                Obj: = Objection

                Ctr = Counter Designation

                R = Relevance

                BE = Best Evidence

                F = Foundation
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                                                                             Page i
    IN THE UNITED STATES BANKRUPTCY COURT
        FOR THE DISTRICT OF DELAWARE
                             X
In Re:                           Chapter 11


                                     Case No.
                                     o i -0113 9 JKF
W.R. Grace & Co., et al.,

                                 (Jointly
               Debtors.          Administered)
                             x


          * * * CONFIDENTIAL * * *



                 May 13, 2009



         DEPOSITION of RICHARD FINKE, held

at the offices of Kirkland & Ellis, 655

Fifteenth Street, N.W., Washington, DC,

commencing at 9: 32 A. M., on the above

date, before Lisa Lynch, a Registered

Meri t Reporter, New Jersey Certified Court

Reporter, License No. XI00825, and

Certified Real time Reporter
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         MAGNA LEGAL SERVICES, LLP          pp:, PI~n Pl'(, pdl'en..s L .
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      7 Penn Center, 8th Floor              Obj: ': Objt'C.-l.o l". .
          1635 Market Street                Ll.. ~ c.Oc,n..ev bo.s' c:"Q-h
          Philadelphia, PA 19103
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